             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:15-cr-00085-MR-DLH


UNITED STATES OF AMERICA,            )
                                     )
                        Plaintiff,   )
                                     )
                   vs.               )              ORDER
                                     )
(1) JAMES DEE BALL;                  )
(2) KELSIE MARIE BUNCH;              )
(3) THERESA LORENE BURNS;            )
(4) ANNA MARIE POSTELL COCHRAN;      )
(5) THOMAS BART COCHRAN;             )
(6) JEREMIAH JEROME GIBBY;           )
(7) HOKE BENJAMIN CALEB HAYES;       )
(8) BRYAN KEITH JENKINS;             )
(9) RAY CHAD LEQUIRE;                )
(10) AMANDA BROOKE McKINNEY;         )
(11) MIRANDA NATIONS;                )
(12) TAMMIE LYNN PAYNE;              )
(13) BRANDI LYNN SMITH;              )
(14) GREGORY DANIEL STEEDLY;         )
(15) CAIN HAMILTON STRICKLAND; and )
(16) SEBERN TODD WYATT,              )
                                     )
                        Defendants.  )
____________________________________ )


     THIS MATTER is before the Court on the motions to continue filed by

Defendants James Dee Ball, Thomas Bart Cochran, and Ray Chad Lequire

[Docs. 192, 193, 195]. Defendant Anna Marie Postell Cochran moves to join

her co-defendants’ request for a continuance [Doc. 194].


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      On September 15, 2015, the above-referenced Defendants were

charged in an eleven-count Bill of Indictment with, inter alia, conspiracy to

distribute   and   possess    with   intent   to   distribute   a   quantity      of

methamphetamine, in violation of 21 U.S.C. § 846. [Doc. 3]. The Defendants

are currently scheduled for trial during the January 4, 2016 trial term.

      Several Defendants now move for a continuance of the trial date, citing

among other reasons the need for additional time to review the extensive

discovery produced by the Government and to engage in plea negotiations

and/or prepare for trial. The Government does not oppose the requested

continuance.

      The Court finds that this case should be continued. Defendant Thomas

Bart Cochran is currently undergoing a mental competency examination.

This evaluation must be completed and the Defendant returned to this

District before this case may proceed to trial. See 18 U.S.C. § 3161(h)(1)(A)

(excluding from Speedy Trial Act calculation any delay resulting from

examinations to determine mental competency). Additionally, Defendant

Tammie Lynn Payne has filed a suppression motion which has to be heard

by the Magistrate Judge. See 18 U.S.C. § 3161(h)(1)(D) (excluding from

Speedy Trial Act calculation “[a]ny period of delay . . . resulting from any


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pretrial motion, from the filing of the motion through the conclusion of the

hearing on, or other prompt disposition of, such motion”); 18 U.S.C. §

3161(h)(1)(H) (excluding any “delay reasonably attributable to any period,

not to exceed thirty days, during which any proceeding concerning the

defendant is under advisement by the court”).

     For all of the reasons stated above, the Court finds that if the requested

continuance were not granted, counsel would be denied “the reasonable

time necessary for effective preparation, taking into account the exercise of

due diligence.” 18 U.S.C. § 3161(h)(7)(B)(iv). The Court further finds that

failure to continue these cases would result in a miscarriage of justice. See

18 U.S.C. § 3161(h)(7)(B)(i).

     Because no motion for severance has been granted, the continuance

of the moving Defendants justifies the continuance of their co-defendants as

well. See 18 U.S.C. § 3161(h)(6) (allowing for exclusion of “a reasonable

period of delay when the defendant is joined for trial with a codefendant as

to whom the time for trial has not run and no motion for severance has been

granted”).




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     For the reasons stated herein, the ends of justice served by the

granting of the continuance outweigh the best interests of the public and the

Defendants in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A).

     Accordingly, IT IS, THEREFORE, ORDERED that the motions filed by

Defendants James Dee Ball, Thomas Bart Cochran, Ray Chad Lequire, and

Anna Marie Postell Cochran [Docs. 192, 193, 194, 195] are GRANTED, and

all of the above-captioned Defendants are hereby CONTINUED from the

January 4, 2016 term in the Asheville Division.

     IT IS SO ORDERED.
                               Signed: December 14, 2015




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